     Case 1:17-cv-00928-CPO-MJS Document 100 Filed 02/17/22 Page 1 of 1 PageID: 1017



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                                                   February 17, 2022

       Via ECF
       Honorable Matthew J. Skahill, U.S.M.J.
       Mitchell H. Cohen Building
       & U.S. Courthouse
       4th & Cooper Streets
       Camden, NJ 08101

                           RE: Levins v. Healthcare Revenue Recovery Group, LLC
                               Docket No.: 1:17-cv-928-RBK-KMW
                               Our File No.: 447-102973 (SXK/CMS)

       Dear Judge Skahill:

                Reference is made to the above-captioned matter. I submit this letter in order to comply
       with the Court’s text Order dated January 28, 2022. The parties met and conferred on February 9th
       concerning plaintiff’s request for additional discovery. The undersigned conveyed to counsel for
       plaintiff that discovery should remain closed and that the additional requests were irrelevant to
       class certification under Rule 23. As such, this matter should proceed to class certification and/or
       summary judgment.

                The undersigned attempted to contact counsel for plaintiff in advance of independently
       filing this letter. As of the time of this filing, no response concerning the joint letter deadline has
       been received.

                Thank you in advance for Your Honor’s consideration in this matter.


                                                          Respectfully submitted,

                                                          MARKS, O’NEILL, O’BRIEN,
                                                          DOHERTY & KELLY, P.C.

                                                          /s/ Jonathan R. Stuckel_____
                                                          Christian M. Scheuerman, Esquire
                                                          Jonathan R. Stuckel, Esquire
       CMS/
       cc:  Philip Stern, Esquire
       {NJ296227.1}
           Philadelphia       Pittsburgh    Westchester County   Wilmington         T owson      New York
           Pennsylvania      Pennsylvania      New York           Delaware          Maryland     New York
